Case 1:21-cr-20495-KMW Document 28 Entered on FLSD Docket 03/22/2022 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-CR-20495-KMW


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  MICHAEL VAN NOSTRAND and
  STRICTLY REPTILES, INC.,

              Defendants.
  ______________________________________/

                               NOTICE OF FILING EXHIBIT

         PLEASE TAKE NOTICE that Defendant Michael Van Nostrand, by and through

  undersigned counsel, hereby files Exhibit A to the Notice of State Court Misdemeanor Case by

  Michael J. Van Nostrand [DE 27].

  Dated: March 22, 2022                            Respectfully submitted,

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                                                   Attorneys for Mr. Van Nostrand
Case 1:21-cr-20495-KMW Document 28 Entered on FLSD Docket 03/22/2022 Page 2 of 2




                                    CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was served on March

  22, 2022via transmission of Notices of Electronic Filing generated by CM/ECF to all parties

  registered to receive notice in this case.

                                                       /s/ Jeffrey E. Marcus
                                                       Jeffrey E. Marcus




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